Case 5:15-cv-05197-TLB      Document 25   Filed 09/23/15   Page 1 of 11 PageID #: 335




                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION


 JESSICA MOUNCE, Individually,                                         PLAINTIFF
 and On Behalf of All Other
 Similarly Situated Plaintiffs

 V.                                                   CASE NO. 5:15-cv-05197-TLB

 CHSPSC, LLC, A Delaware Corporation;
 NORTHWEST ARKANSAS HOSPITALS, LLC,
 a Delaware Limited Liability Company
 d/b/a NORTHWEST MEDICAL CENTER;
 PROFESSIONAL ACCOUNT SERVICES, INC.,
 a Tennessee Corporation; and
 JOHN DOES I – X,                                                  DEFENDANTS.

                                 RULE 26(f) REPORT

       The parties, by and through their attorneys of record, submit the following

 for their Joint Rule 26(f) Report:

       1.      Plaintiff’s Statement of the Case.

       On or about November 30, 2013, Plaintiff Jessica Mounce presented to a

 hospital owned, operated and/or affiliated with Defendants’ for emergency medical

 services as a result of an automobile accident. Plaintiff’s treatment resulted in

 medical charges totaling $6,104.96.

       Plaintiff alleges that she (and the proposed class members) had valid

 commercial health insurance at the time she received medical treatment from

 Defendants.    Plaintiff further alleges that Defendants were required by their

 contracts with Plaintiff (and the proposed class members’) health insurance carrier

 to submit her medical bills to health insurance and accept a reduced contractual
Case 5:15-cv-05197-TLB     Document 25     Filed 09/23/15    Page 2 of 11 PageID #: 336




 payment rather than filing a lien and receiving full payments from Plaintiff’s (and

 the proposed class members’) personal injury settlements.

       Despite the fact that Plaintiff had valid commercial health insurance at the

 time of treatment and therefore did not owe Defendants any debt, Defendants

 nevertheless asserted a lien and sought payment from her third party motorist

 claim. Defendants were paid $3,052.48 to satisfy Defendants’ lien in January of

 2015 by the third party auto insurer, Horace Mann Insurance.

       Plaintiff, individually and on behalf of a putative class, filed her Complaint

 against Defendants setting forth five counts: Count I – Violations of the Arkansas

 Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-101 et seq.; Count II –

 Tortious Interference with Contract/Business Relationship; Count III – Unjust

 Enrichment; and Count IV - Injunctive Relief.


        2.    Defendants’ Statement of the Case.

       Defendants will move to compel arbitration pursuant to the Federal

 Arbitration Act because plaintiff is attempting to enforce a separate provider

 agreement between the hospital and a commercial health care insurer that contains

 an arbitration provision, which provides that the agreement may only be enforced

 through arbitration. Accordingly, the Court should enter an order compelling

 plaintiff to arbitration on an individual—and not class—basis.

       On the merits, defendants dispute that plaintiff has any right to enforce the

 contract between her insurer and the hospital because that contract expressly

 states that the parties did not intend to benefit any third party. Defendants also


                                           2
Case 5:15-cv-05197-TLB      Document 25      Filed 09/23/15   Page 3 of 11 PageID #: 337




 dispute that the provider agreement with plaintiff’s health care insurer required the

 hospital to submit medical bills to the insurer rather than receiving any payment

 from plaintiff’s personal injury settlement. Because defendants did nothing

 wrongful in any regard in handling plaintiff’s account, defendants deny that

 plaintiff has any cause of action under any of the theories she has asserted.

       With regard to their affirmative defenses, defendants state that they asserted

 the affirmative defenses of waiver, consent, and accord and satisfaction based upon:

 (a) plaintiff’s assertion in her complaint that she voluntarily paid the allegedly

 wrongful lien rather than contesting its validity; and (b) because before the

 allegedly wrongful lien was asserted, plaintiff informed the hospital defendant that

 she wanted to pursue an auto claim prior to her health insurance being billed.

 Defendants raised standing because plaintiff is not a party to the provider

 agreement between her insurer and the hospital, and she is not a third-party

 beneficiary of that contract. Defendants raised the remainder of the affirmative

 defenses to preserve them should discovery lead to evidence supporting their

 application in the case.


      3.    Are there any Objections pursuant to Rule 26(a)(1)(C) to
 providing required Initial Disclosures?

              RESPONSE: None.


       4.   Are there any Objections to the timing of Rule 26(a) Initial
 Disclosures?

              RESPONSE: None.



                                            3
Case 5:15-cv-05197-TLB    Document 25     Filed 09/23/15   Page 4 of 11 PageID #: 338




       5.      Agreed Document Productions.
               RESPONSE:

      Plaintiff will produce all documents in her possession or accessible
 to her, in her attorneys’ possession, and in the possession of Jeff Slaton
 who handed her related personal injury claim, that are related to her
 claims in this action, including:

       i.      A current copy of plaintiff’s insurance contract with Blue
               Advantage and/or Arkansas Blue Cross and Blue Shield;
       ii.     A copy of plaintiff’s insurance contract with Blue Advantage
               and/or Arkansas Blue Cross and Blue Shield that was in effect
               on November 30, 2013;
       iii.    A current copy of plaintiff’s health insurance or benefits card;
       iv.     A copy of plaintiff’s health insurance or benefits card in effect
               on November 30, 2013;
       v.      All release agreements that plaintiff signed related to the auto
               accident occurring on or about November 27, 2013;
       vi.     All correspondence that plaintiff has sent to or received from
               her health insurer related to this matter or the auto accident
               occurring on or about November 27, 2013;
       vii.    All documents showing any judicial determination or
               agreement that plaintiff was made whole by payment from or
               settlement with the tortfeasor’s insurance carrier in
               connection with the accident occurring on or about November
               27, 2013;
       viii.   A copy of the accident report for the auto accident involving
               plaintiff that occurred on or about November 27, 2013;
       ix.     A copy of the lien notice sent or filed by any of the defendants;
       x.      A copy of all correspondence between plaintiff and any of the
               defendants, including correspondence between counsel for
               plaintiff and any of the defendants; and
       xi.     A copy of all records and bills plaintiff received from any of the
               defendants.

       Upon the entry of an appropriate Protective Order, defendants have
 agreed to produce the following documents as part of their Rule 26(a)
 Initial Disclosures:

       i.      The written policies and procedures in place on April 30, 2010,
               on November 30, 2013, and today for Northwest Medical Center
               – Springdale, Northwest Medical Center – Bentonville and
               Willow Creek Women’s Hospital, regarding how and when


                                         4
Case 5:15-cv-05197-TLB     Document 25     Filed 09/23/15   Page 5 of 11 PageID #: 339




              liens are asserted and handled in auto accident cases where a
              patient is insured under a commercial health insurance policy;
       ii.    All medical records, bills, assignments, agreements, lien
              notices and related documents regarding the named plaintiff;
       iii.   All provider agreements between Northwest Medical Center –
              Springdale, Northwest Medical Center – Bentonville, Willow
              Creek Women’s Hospital and commercial health insurers
              identified as Arkansas Blue Cross and Blue Shield, Cigna,
              United Healthcare, Aetna, and Humana;
       iv.    A summary of potential class members having an alleged claim
              including the name of each patient, the commercial health
              insurer at issue, and the amount/source of any payments
              received from all sources other than commercial health
              insurance. Other payers, including Medicaid and Medicare
              payments will not be included in this information as said
              information does not meet Plaintiff’s class definition;
       v.     All insurance policies, if any, which might provide coverage in
              this case.

       6.     Discovery.

       (a).   How many months are reasonably necessary to complete discovery—as
              measured from the date of the Case Management Hearing?

              RESPONSE: 8 months.

       (b).   Do the parties seek to alter (increase or decrease) the maximum
              number of written discovery requests allowed by the Rules? If so,
              please explain.

              RESPONSE: No.

       (c).   Do the parties seek to increase the maximum number of depositions
              allowed per side? If yes, please explain the necessity and state how
              many depositions per side are proposed.

              RESPONSE: No.

       (d).   Please characterize the scope and extent of electronic discovery
              contemplated by the parties as follows: (i) none; (ii) fairly simple and
              routine; or (iii) complex. If your answer is “Complex,” then please
              complete and attach Schedule A.

              RESPONSE: Fairly simple and routine.



                                          5
Case 5:15-cv-05197-TLB    Document 25      Filed 09/23/15   Page 6 of 11 PageID #: 340




       (e).   Do you anticipate the use of Expert Witnesses at trial? If so, state
              proposed dates by which the parties will be in a position to provide
              initial and rebuttal expert disclosures pursuant Rule 26(a)(2).

              RESPONSE: The parties do not currently anticipate the need
              for expert witnesses but may determine during discovery that
              expert involvement is required and would like to have the
              ability to identify an expert or experts if that becomes
              appropriate.

       (f).   Do the parties presently contemplate the need for a protective order
              prior to the exchange of documents or information? [If so, the parties
              should provide the Court with an agreed order (via email in Word
              Perfect or Word format) at least two full business days prior to the
              Case Management Hearing. Such orders should contain the language
              specified in the Court’s policy on protective orders, which is available
              on the Court’s website under “Judge Brooks Forms”). If the parties
              cannot agree as to the need or form of an appropriate protective order,
              then formal relief must be promptly sought pursuant to Fed. R. Civ. P.
              26(c).]

              RESPONSE:      Yes, the parties anticipate the need for a
              Protective Order in order to produce confidential information
              which could include personal health information. A joint
              motion for Protective Order was filed on September 17, 2015
              that included an agreed form of the Protective Order.

       7.     State the parties’ best estimate as to the number of days reasonably
 necessary to fully try the case.

              RESPONSE: 3-5 days.

        8.    State whether 90 days—measured from the Case Management
 Hearing—is a sufficient amount of time to Add Parties and/or Amend Pleadings. [If
 “No,” please explain why and suggest a proposed alternative deadline]

              RESPONSE: Yes.

       9.     Settlement Prospects.

              RESPONSE: As this case has been filed as a proposed class
 action, the parties do not think it would be helpful for the Court to order
 an “early” settlement conference. The parties anticipate the case would be
 ready for a settlement conference following discovery and/or a ruling on
 Plaintiff’s Motion for Class Certification.

                                          6
Case 5:15-cv-05197-TLB     Document 25      Filed 09/23/15   Page 7 of 11 PageID #: 341




        10.   Special Issues and Schedules. [Please mark an “X” next to the
 following issues that may be applicable to your case. For each applicable issue,
 please complete and attach the corresponding Schedule(s) to your Joint Report.]

       ___    Federal Jurisdiction is Disputed. [If so, please complete and attach
              Schedule B.]

       ___    Action removed from state court and Plaintiff’s Complaint does not
              specifically allege damages in excess of $75,000.00. [If so, please
              complete and attach Schedule C.]

       ___    Diversity Jurisdiction case where any party is a non-corporate entity
              (i.e. LLCs, LLPs, General Partnerships, Trusts, Estates, etc.). [If so,
              please complete and attach Schedule D.]

       XXX Original action filed in this Court based on Diversity Jurisdiction
           where Plaintiff has named one or more “John Doe” Defendant(s). [If so,
           please complete and attach Schedule E.]

       XXX Complaint contemplates certification of a Rule 23 Class Action and/or
           a Collective Action pursuant to the Fair Labor Standards Act. [If so,
           please complete and attach Schedule F.]

       ___    Complaint seeks recovery for personal injuries and/or wage loss. [If so,
              please complete and attach Schedule G.]

       11.    Have all corporate parties filed the disclosure statement contemplated
 by Fed. R. Civ. P. 7.1?

              RESPONSE: Yes.



                                         Respectfully Submitted,
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                                           7
Case 5:15-cv-05197-TLB   Document 25      Filed 09/23/15    Page 8 of 11 PageID #: 342




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                                          8
Case 5:15-cv-05197-TLB    Document 25      Filed 09/23/15   Page 9 of 11 PageID #: 343




                                    Schedule E

             Original Diversity Action where Plaintiff has named
                    one or more “John Doe” Defendant(s)


 1.    The Plaintiff shall provide a statement of facts categorically describing the
       role and nature of liability attributed to any such fictitious Defendants,
       including why their identities are not reasonably known—and how long it
       will take to determine their identities during discovery. The statement
       should also focus on the relative likelihood that the citizenship of any
       fictitious Defendants, once known, will defeat diversity jurisdiction. In light
       of such facts, the statement should include legal argument and authorities as
       to the present appropriateness of federal diversity jurisdiction.


 Although Plaintiff has named John Doe Defendants in her Complaint,
 Plaintiff does not anticipate that the identity of any of such individuals
 would defeat diversity jurisdiction in this case because the case was
 removed under the minimal diversity standard of the Class Action
 Fairness Act, which requires only that one class member and one
 defendant be from different states. The citizenship of the John Doe
 Defendants will not affect minimal diversity. Plaintiff will promptly serve
 discovery in order to ascertain the identity of any other individuals that
 should be a party to this litigation and will seek to amend her Complaint
 (if necessary) within the deadline for amending pleadings - 90 days from
 the date of the Case Management Hearing.
Case 5:15-cv-05197-TLB    Document 25      Filed 09/23/15   Page 10 of 11 PageID #: 344




                                     Schedule F

              Rule 23 Class Action and/or FLSA Collective Action


 1.    The parties shall confer and provide a detailed statement of their joint
       recommendations and/or respective positions on how to structure the
       litigation. For example, should case management be bifurcated into pre- and
       post-certification phases—with discovery initially limited to certification
       issues? If so, the parties should discuss and report agreed deadlines (or each
       party’s respective position on deadlines) typically associated with certification
       and merits phases, including a schedule for expert disclosures and
       depositions.     Such considerations may be structurally different for FLSA
       cases—but the Court is in equal need of the parties’ input and
       recommendations. In a “typical” Rule 23 class action, the Court’s suggested
       deadline for filing certification motions is about 6 months from the Case
       Management Hearing, and pure merits discovery—if a class is certified—
       should last no more than about 6 to 8 months.

 RESPONSE:

 As merits and class discovery are inextricably intertwined, the Parties do
 not believe bifurcating discovery would be beneficial in this case.
 Moreover, the parties anticipate that the size of the class would be no
 more than a few thousand individuals. Thus, the parties will promptly
 engage in both merits and class discovery. Once sufficient discovery has
 been completed, Plaintiff will file her Motion for Class Certification. The
 parties propose Plaintiff’s deadline for filing her Motion for Class
 Certification to be 6 months from the date of the Case Management
 Hearing.

 By this statement, the parties do not intend to preclude Defendants from
 filing any dispositive and/or other motion challenging the claims of the
 named Plaintiff at any time Defendants feel necessary.




                                           10
Case 5:15-cv-05197-TLB    Document 25      Filed 09/23/15   Page 11 of 11 PageID #: 345




                            CERTIFICATE OF SERVICE

        I, Jason Earley, hereby certify that on September 23, 2015, I electronically
 filed the foregoing with the Clerk of Court using the CM/ECF system, which shall
 send notification of such filing to the following:


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                                        /s/ Jason Earley




                                          11
